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                                                      10                       UNITED STATES DISTRICT COURT
                                                      11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
PAYNE & FEARS LLP




                                                      12
               4 PARK PLAZA, SUITE 1100
                RVINE, CALIFORNIA 92614




                                                      13 JENNIFER GREBB,                            Case No. 2:21-cv-06198 SVW (SPx)
                  ATTORNEYS AT LAW


                                     (949) 851-1100




                                                      14              Plaintiff,                    [Los Angeles County Superior Court
                                                                                                    Case No. 21STCV23530]
                                                      15        v.
                                                                                                    Assigned to Judge Stephen V. Wilson
                                                      16
                                                         WAL-MART ASSOCIATES, INC.,
                                                      17 SAM’S WEST, INC. D/B/A SAM’S               ORDER TO REMAND CASE TO
                                                         CLUB, WALMART INC, BEATRICE                STATE COURT
                                                      18 AGRAMON, and DOES 1 to 100,
                                                         inclusive,
                                                      19
                                                                    Defendants.
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                                                      24        GOOD CAUSE APPEARING, the Court hereby approves the Joint

                                                      25 Stipulation of the Parties and Orders:
                                                      26        1.    The above-captioned action shall be remanded to the Los Angeles
                                                      27
                                                                      Superior Court.
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                                                                             PROPOSED ORDER TO REMAND CASE TO STATE COURT
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